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 2                                 UNITED STATES DISTRICT COURT
 3                                         DISTRICT OF NEVADA
 4                                                    ***
 5    BRENDAN NASBY,                                            Case No. 3:07-cv-00304-LRH-WGC
 6                                           Petitioner,
              v.                                                              ORDER
 7
      E.K. MCDANIEL, et al.,
 8
                                         Respondents.
 9

10           This habeas matter is before the Court on Petitioner Brendan Nasby’s unopposed first
11   Motion for Extension of Time (ECF No. 203).
12           The Court has repeatedly warned: “Further extensions of time are not likely to be
13   granted absent compelling circumstances and a strong showing of good cause why the
14   briefing could not be completed within the extended time allowed despite the exercise of due
15   diligence. (See ECF Nos. 183, 190, 192, 198.) The Court has further directed both parties to
16   “prioritize the briefing in this case over later-filed matters.” (Id.)
17           Nasby now seeks a 45-day extension to file and serve a reply in support of the amended
18   petition’s remaining grounds. He provides detailed and compelling reasons why additional time
19   is necessary to complete the reply brief. The extension will therefore be granted. However,
20   moving forward, the Court’s instruction and warning remain in effect, and requests for lengthy
21   extensions will not be granted.
22           IT IS THEREFORE ORDERED: Nasby’s unopposed first Motion for Enlargement of
23   Time (ECF No. 203) is GRANTED. Nasby has until December 3, 2020, to file and serve a reply
24   in support of the remaining grounds of the Amended Petition (ECF No. 176).
25           DATED this 15th day of October, 2020.
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                                                               LARRY R. HICKS
28                                                             UNITED STATES DISTRICT JUDGE


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